Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 1 of 51




         Exhibit 1
                     Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 2 of 51




                                                                                                                        A3M / ALL
                                                                                                     Transmittal Number: 24982992
Notice of Service of Process                                                                            Date Processed: 05/27/2022

Primary Contact:           SOP Team nwsop@nationwide.com
                           Nationwide Mutual Insurance Company
                           Three Nationwide Plaza
                           Columbus, OH 43215-2410

Electronic copy provided to:                   Ashley Roberts

Entity:                                       Nationwide Insurance Company Of America
                                              Entity ID Number 3286566
Entity Served:                                Nationwide Insurance Company Of America
Title of Action:                              Life Skills vs. Nationwide Insurance Company
Matter Name/ID:                               Life Skills vs. Nationwide Insurance Company (12365575)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Worcester County Superior Court, MA
Case/Reference No:                            2285CV00387C
Jurisdiction Served:                          Massachusetts
Date Served on CSC:                           05/26/2022
Answer or Appearance Due:                     20 Days
Originally Served On:                         MA Commissioner of Insurance on 05/18/2022
How Served:                                   Regular Mail
Sender Information:                           Boston Law Collaborative, LLC
                                              N/A

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
           Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 3 of 51

                          COMMONWEALTH OF MASSACHUSETTS
       ~                 Office of Consumer Affairs and Business Regulation
                                      DIVISION OF INSURANCE
                                 1000 Washington Street • Suite 810 • Boston, MA 02118-6200
                                           (617) 521-7794 • FAX (617) 521-7475
                                                  http://www.mass.gov/doi


  CHARLES D.BAKER                                                                       MIKE KENNEALY
      GOVERNOR                                                                      SECRETARY OF HOUSING AND
                                                                                      ECONOMIC DEVELOPMENT

   KARYN E. POLITO                                                                  EDWARD A. PALLESCHI
   LIEUTENANT GOVERNOR                                                                   UNDERSECRETARY

                                                                                      GARY D. ANDERSON
                                                                                    COMMISSIONER OF INSURANCE



                                                           May 18, 2022

NATIONWIDE INSURANCE COMPANY OF AMERICA
c/o Corporation Service Company'
84 State Street
Boston, MA 02109


        Re: Service of Process


Dear Sir or Madam:

   Enclosed you will find legal process which was served upon the 'Commissioner of Insurance,
in his capacity as attorney and registered agent for, Service of Process* for a foreign insurance
company, as provided for in Massachusetts General Laws, Chapter 175, §151(3) and §154.

* Please note: All future inquiry or correspondence should be directed to the attention of the
attorney of record of the enclosed documents.



                                                           Sincerely,
                                                                                              <



                                                            Stacy Siegan
                                                            Assistant to the General Counsel
                                                            (617)521-7310



Enclosure(s)
                      Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 4 of 51


i-----•--            --           .
I _'                        _                     --- ------ ----- - - CML DOCKET NO. -   --- -- TYia➢ Court of MasSachl9setttS               -~
                           .11:.:1fY1R1onS                                                                                                ~
                                                                                              The Saaperior c®urt
I                                                            aa~} Cyoo0~38-
     C;,sE N.v+ne
i                                                                                             Dennis P. McManus                 Cferk of Courts
I
                                                                                              Worcester                              County
                                                                                              COURT NAME &ADDRESS:
                                                                       PlamSff(s) .
                                                 vS
                                                                                              Worcester Superior Court

                                                                                              225 Main Sfreet
                       '                                                                      Worcester, MA 01608
       A1a4ron wl c~e :~•~Svrc n~e C~ .                             Defendant(s)




                    THIS SUIViMONS IS DIRECTED TO            /l~Q~c~~tyc~L..L?S ['o .                           (Defendant's name)


       You aa•e being sued. The Plaintiff(s) named above has started a lawsuit against you. A copy of the Plaintifil's Complaint filed
       against you is attached to this summons and the original complaint has been filed in the                                        CourE. ,
                                             YOl! NIUST ACT Pft0MPTI_Y TO PROTECT YOfJR REGHTS.


     1. You must respond to this lawrsuit in vvriting within 20 da,ys.
    lf you do not respond., the court may decide the case against you and award fhe PlaintifF everyfhing asked for in the complaint
    You wilf also lose the opportunity to tell your side of the story. You must respond- to this lawsuit in wrffing even if you expect to
    resolve this' matter with the Plairitiff. (f you need raIlore tirrae to resp®nd, you may request aaa extensi®n of time in writing
    frorn the Court:

    2. How to Respond.
    To respond to this lawsuit, you must file a wrrEten to response with the court aaad mail a copy to the Plaintitfs Attorriey (or the
    Plaintiff, if unrepresented). You can do this by:
             a) Filing your signed original response with the Clerk's Office for Civtl Business, "M_eSA- S'v"pA/'tarCourE
                                 n                     kr~ fif4 O&OR(address), by mail or in person AN®
             b) Delivering or mailing a copy of your response to the PlaintifPs Attomey/Plaintiff at the following address:


               So wJZZ~a,r►~ s~ ,.Sv.,~-e a~, C~6l,~s/~y. ~'~2p :~dg'~/                                                                 :. .:.
    3. What to Inciude in Your Response.
    An "Answer" is one type of response to a Complaint Your Answer must state whether you agree or disagree with the fact(s)
alleged in each paragraph of the Complaint Some defenses, called affirmative defenses, must be stated in your Answer or
you may lose your right to. use them in coun`_ If you have any claims against the Plaintiff (refen-ed tO as coun$erclairns) that
are based on the same facts ortransaction described in the Complaint, then you must include those claims in you'rAhswer.
Otherwise, you may lose your right to sue the Plaintiff about anything related to this lawsuit- If you want to. have your case
  heard by a jury, you must speci₹'acal9y request a jury trial in your coun` no more than 10 days after sending your Answer.
                           Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 5 of 51




 3(cont). You can also respond to a Complaint by filing a"Motion to D'usrniss," if you believe that the compf45nt is legally
 invalid or legally insufftcient A Motion to Dismiss must be based on one of the legal deficiencies or reasons listed under
 Mass. R. Civ. P.12. If you are filing a Motion to Dismiss, you must also comply with the filing procedures for "Civil Motions"
 described in the rules of the Court in which the complaint was filed, available at:
                                                  www.mass.gov/courts/case-leg_al-res/rules of court

4. Legal Assistance.
You may wish to get legal help from a lawyer. If you cannot get legal help, some basic information for people who represent
themselves is available at www.massgovlcourts/seffhelp.

5. Reqi-iired leaformation on AI! Filir'✓gs:
The "civil docket number" appearing at the top of this notice is the case number assigned to this case and must appear on the
front of yourAnswer or Motion to Dismfss. You should referto yourself as the "Defendant"

            Witness Hon. Heidi E.               ger        I i I , Chief Justice on                                                      , 20_.?C~ .(Seal)

            Clerk-Magistrate

  Note: The number assigned to the Complaint by the ClerkMag'istra5e at the beginning aPthe lawsuit should be indicaied on the summons beFore if is served on the Defendant




                                                            PROOF OF SERVICE OF PROCESS '


I he by certify that on                                     I served a coPY of this summons,
                                                                                        .    together with a coPY of. the complaint
in this action, on the defendant named in this summons, in the following manner (See Mass. R. Civ. P. 4(d)(1-5)):

  ~G FIM~0 d 55 P01/ ! 47                                                                              S(;v~`i.'WCy1- -~'e~L ahv Cf-
                          ~% ~'~ r~~~>~.~-i'e~ ~ ~5ej^ ~i' u- c~r, ~a~o~ai~id
     1,30,vAn--                MW 4-5-M,19 .
                                                                                                                                               .
                 Dated:     ,~/f~        ~~°~"                                                 Signature:
        .    .

                                                                                                         .            ~
N.B. TO PROCESS SERVER:
       PLEASE'EIVTER THE DATE THAT YOU fWADE SERVICE Ofil THE DEFENDAPlT IPd THIS BOX - BOTH OA! THE ORIGIRtAL
SUfiNMONS AAlD OP! THE COPY OF THE SUMPNIOPdS SERVED Old THE DEFEPlDAAIT.               RE EIVED

                                                                                                                                    MAY ~ ~ 2022
                                                                                                                  Date:
                                                                                                                                  DIVISIOG~ pIVISIONNCE

                                                                                                                                                   rev. 112019
                                 Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 6 of 51

                                                             DOCKET NUMBER                                                     Qk
                                                                                   Trial Court of Massachusetts



CASE NAME:
            CIVIL TRACKING ORDER
              (STANDING ORDER 1- 88)                          2285CV00387          The Superior Court                         w
                                                                                    Dennis P. McManus, Clerk of Courts
      Life Skills, Inc. vs. Nationwide Insurance Company

                                                                                   COURT NAME &ADDRESS
TO:    James E Grumbach, Esq.
                                                                                     Worcester County Superior Court
       Boston Law Collaborative
                                                                                     225 Main Street
       80 William St
                                                                                     Worcester, MA 01608
       Suite 200
       Wellesley Hills, MA 02481

                                                         TRACKING ORDER - F- Fast Track
                  You are hereby notified that this case is on the track referenced above as per Superior Court Standing
      Order 1-88. The order requires that the various stages of litigation described below must be completed not later
    than the deadlines indicated.


                   STAGES OF LITIGATION                                                   DEADLINE

                                                                               SERVED BY       FILED BY          HEARD BY

      Service of process made and return filed with the Court                                 07/05/2022

      Response to the complaint filed (also see MRCP 12)                                      08/03/2022

      AII motions under MRCP 12, 19, and 20                                     08/03/2022    09/02/2022         10/03/2022

      AII motions under MRCP 15                                                 08/03/2022    09/02/2022         10/03/2022

      AII discovery requests and depositions served and non-expert
                                                                                01/30/2023
      depositions completed

      AII motions under MRCP 56                                                 03/01/2023    03/31/2023

      Final pre-trial conference held and/or firm trial date set                                                 07/31/2023

      Case shall be resolved and judgment shall issue by                                                     04/04/2024




   The final pre-trial deadline is not the scheduled date of the conference. You will be notified of that date at a later time.
   Counsel for plaintiff must serve this tracking order on defendant before the deadline for filing return of service.
   This case is assigned to



 DATE ISSUED                    I     ASSISTANT CLERK                                                    PHONE

      04/06/2022                 1       Anne O'Connor                                                      (508)831-2361

DateTme Pdnled: 04-06-2022 11:54:J5                                                                                       SCV026\ 08/2018
                                  Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 7 of 51
                                                                                                                                     Qk
                                                              DOCKETNUMBER
                                                                                    Trial Court of Massachusetts


CASE NAME:
             CIVIL TRACKING ORDER
                  (STANDING ORDER 1- 88)                       2285CV00387          The Superior Court                            w
                                                                                     Dennis P. McManus, Clerk of Courts
      Life Skills, Inc. vs. Nationwide Insurance Company

                                                                                    COURT NAME & ADDRESS
To:     James E Grumbach, Esq.
                                                                                      Worcester County Superior Court
       Boston Law Collaborative
                                                                                      225 Main Street
       80 William St
                                                                                      Worcester, MA 01608
       Suite 200
       Wellesley Hills, MA 02481

                                                          TRACKING ORDER - F- Fast Track
                   You are hereby notified that this case is on the track referenced above as per Superior Court Standing
      Order 1-88. The order requires that the various stages of litigation described below must be completed not later
    than the deadlines indicated.


                    STAGES OF LITIGATION                                                   DEADLINE


                                                                                 SERVED BY      FILED BY             HEARD BY

      Service of process made and return filed with the Court                                   07/05/2022

      Response to the complaint filed (also see MRCP 12)                                        08/03/2022

      AII motions under MRCP 12, 19, and 20                                      08/03/2022     09/02/2022           10/03/2022

      AII motions under MRCP 15                                                  08/03/2022     09/02/2022           10/03/2022

      AII discovery requests and depositions served and non-expert
                                                                                 01/30/2023
      depositions completed

      AII motions under MRCP 56                                                  03/01/2023     03/31/2023

      Final pre-trial conference held and/or firm trial date set                                                     07/31/2023

      Case shall be resolved and judgment shall issue by                                                           04/04/2024




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   Counsel for plaintiff must serve this tracking order on defendant before the deadline for filing return of service.
   This case is assigned to




 DATE ISSUED                      I    ASSISTANT CLERK                                                     PHONE

      04/06/2022                  1       Anne O'Connor                                                       (508)831-2361

DateTme Printed: 04-06-2022 11:54:35                                                                                            SCV0261 08/2018
          Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 8 of 51



                            COMMONWEALTH OF MASSACHUSETTS

WORCESTER, SS.                                                           SUPERIOR COURT
                                                                         C.A. NO.

LIFE SKILLS,                 )
      Plaintiff,             )
                             )
v.                           )
                             )
NATIONWIDE INSURANCE COMPANY )
     Defendant.              )


                                    COMPLAINT AND JURY CLAIM

                                      COUNT I (Breach of Contract)

        1.      Plaintiff Life Skills, Inc. ("Life Skills") has at all times material been a duly-

organized corporation which provides residential and day habilitation services to individuals

diagnosed with autism and to intellectually and developmentally disabled adults at various facilities

in Massachusetts, with its office located at 44 Morris Street, Webster, Worcester County,

Massachusetts.

        2.      Defendant Nationwide Insurance Company ("Nationwide") has at all times material

been a duly licensed insurance company with an office located at One West Nationwide Blvd.

Columbus, OH 43215-2220, doing and transacting business and issuing insurance policies in

Massachusetts, aIl of which activities are causally related to this cause of action.

        3.      The Defendant Nationwide issued a commercial package insurance policy,

No. MPA00000019116E, effective October 14, 2019 to October 14, 2020 ("Policy"), providing

insurance coverage to Plaintiff Life Skills' various facilities in the event of various casualties,

including loss due to a collapse.

        4. __ _ On or about May 5, 2020, the facility located at 44 Morris Street, Webster ("Property"),

with building limits in the amount of $3,038,300, sustained severe damage from a collapse, roughly 8-
          Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 9 of 51



10 inches in depth, at the northwest corner of a ceramics classroom.

        5.     Defendant Nationwide received prompt notice, and assigned an adjuster to the scene.

        6.     On June 8, 2020, Life Skills received an email from Nationwide (Exhibit A

hereto) confinming thatcoverage for the loss had been afforded due to hidden decay.

        7.     On June 8, 2020, Life Skills received further confinmation that Nationwide had

afforded coverage, by way of a letter dated June 8, 2020, confirming a forthcoming actual

cash value (ACV) payment in the amount of $49,481.06 (Exhibit B), requesting that Life

Skills provide Nationwide with incurred demolition invoices and confirming that the Policy

in force provides replacement costvalue (RCV) coverage.

       8. On June 8, 2020, Life Skills received further confirmation of afforded coverage, by

wayofadetailedoffer or estimate, in the amounts of $59,875.77 RCV and $51,981.06 ACV

(Exhibit C).

        9. Subsequently, Life Skills received acheck in the amount of $49,481.06,

representing the ACV offer (Exhibit D).

        10.    Plaintiff is informed and believes, and therefore avers, that on June 10, 2020, an

engineer retained by Nationwide inspected the Property.

        11.    On or about July 9, 2020, Life Skills received a denial letter from Nationwide

(Exhibit E), allegedly based on an engineering report.

       12.     On July 10, 2020, Life Skills received an engineering report written by EFI Global

(Exhibit F), stating that the "detachment and dislodgement of the timber beam that resulted in the

vertical displacement of the floor was not a collapse", as defined by the 2015 International

Building Code and the Merriam-Webster dictionary.

       13.     On or about May -18, 2021, PlaintiffLife Skills retained a public adjuster, Mario J.

Dies ("Dies"), to assist it in making claims for damage to the building.



                                                    7pi
        Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 10 of 51



       14.       By letter dated June 13, 2021, Dies submitted a written claim to Nationwide, along with

a repair estimate and a proof of loss in the amount of $402,801, seeking reconsideration of the denial.

       15.       The terms of the Policy, in particular Form CP 10300607 (Causes of Loss -

Special Form), page 7 of 10, provide in Relevant part:

       D. Additional Coverage - Collapse

              1. For the purposes of this Additional Coverage - Collapse, abrupt collapse means
                 an abrupt falling down or caving in of a building or any part of a building with
                 the result that the building or part of the building cannot be occupied for its
                 intended purpose.

              2. We will pay for direct physical loss or damage to Covered Property, caused by
                 abrupt collapse of a building or any part of a building that is insured under this
                 Coverage Form or that contains Covered Property insured under this Coverage
                 Form, if such collapse is caused by one or more of the following:

                 a. Building decay that is hidden from view, unless the presence of such decay
                    is known to an insured prior to collapse. ..

       16.       Nationwide stopped payment of the $49,481.06 ACV check to Life Skills.

       17.       Nationwide neither accepted, rejected nor made payment on Life

Skills' proof of loss.

       18.       As a result of Defendant Nationwide's refusal to make payment for the loss, the

Plaintiff has sustained substantial damages, along with consequential and incidental damages.

                                   COUNT II (Declarator Judgment)

       19.       The Plaintiff realleges and incorporates by reference each and every allegation of

paragraphs 1-18.

       20.       There is an actual controversy which has arisen between Plaintiff Life Skills and

Defendant Nationwide.

                                COUNT III (Violation of G.L. c. 93A and 176D)

 -    - 22.     =-The Plaintiffrealleges and incorporates by reference each and every allegation of
                                                     3
          Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 11 of 51



paragraphs 1-21.

         23.      Plaintiff Life Skills and Defendant Nationwide are engaged in trade or commerce.

         24.      The DefendanYs acts and omissions constitute unfair and deceptive acts and practices,

in violation of G.L. c. 93A and 176D.

         25.      The Defendant's acts were willful and knowing.

         26.      The Defendant's actions and omissions have caused the Plaintiffa loss of money and

other property.

         WHEREFORE, the Plaintiff Life Skills prays:

         1.       that the Court enter judgment in favor of the Plaintiff for damages on Count I, along

with interest and costs of suit;

         2.       that the Court declare the respective rights and obligations of the Plaintiff and the

Defendant on Count II, pursuant to G.L. c. 231A;

         3.       that the Court enter judgment in favor of the Plaintiff for damages on Count III, along

with double or treble damages, reasonable attorneys' fees interest and costs; and

         4.       that the Court enter such other and further relief as the Court deems just and proper.


                                                  For the Plaintiff
                                                  By .q-s attorneys,

                                                           ~    (f.6
                                                  J   es E. Grumbach (BBO #213740)
                                                    rumbach blc.law
                                                  BOSTON LAW COLLABORATIVE, LLC
                                                  80 William Street, Suite 200
                                                  Wellesley, MA 02481
                                                  (617) 439-4700

Dated:            Apri15, 2022

               THE PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL ISSUES




                                                       4
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       Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 13 of 51




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At this point we are forwarding to you the letter and the estimate for repalrs based on the inspection by
Armand. As stated previously, we have not received any type of estimate from the contractor. Once the
estimate is know, we will need to review it and dedde what further actions might me needed.

We have also left open the costs for temporary repairs and demolition to date. Please forward the costs
of that work once they are known.

A payment based on the attached estimate has been processed and will be sent out in the next day or
two by USPS. Please allow 5-7 days for delivery

Once the work on the building has been completed, please submit final invoices so we can make the
replacement cost payment to you.

If you have any other questions or concerns please do not hesitate to contact me.


      ~;~~
      •

:f►riiati.aeG.;Coffe~f
 Harleysville Insurance Company
 Claims Spec II, Coml Property
 PO BOX 182068
 COLUMBUS,OH 43218-2068
 (Work) 614-435-2887
 (Fax) 877-866-1399
COFFEM1CQloationwide.com
Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 14 of 51
       Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 15 of 51




1)
                                                             Page 1of 2
       Nationwide
                                                             Date prepared   June 8, 2020
                                                             Claim number    494880-GK
                                                             Policy number   MPA00000019116E
                                                             Questions?      Contact Claims Associate
                                                                             Michael Coffey
                                                                             COFFEMI@nationwide.com
                                                                             Phone 614-435-2887
                                                                             Fax 877-866-1399


Life Skills Inc
44 MORRIS ST
WEBSTER, MA 01570-1812




Claim details
Insurer:          Harleysville Insurance Company
Policyholder:     Life Skills Inc
Claim number:     494880-GK
Loss date:        May 5, 2020


Dear Mr. Amick,

Thank for opportunity to work with you on your ciaim. We are pieased to inciude a scope of work for
the damages to the buiiding. We will be issuing you a payment for $49,481.06. This represents the
actual cash vafue payment for the estimated repairs or repiacement of the damaged property fess the
deductibie shown on your poficy.

Please be aware that the lien hoiders - Webster Five Cents Savings Bank was inciuded on the repair
payment in accordance with the terms of your poficy. Please contact your mortgage company to
arrange the endorsement of the payment by them.

We are aware that there will be invoices for work that has aiready been compieted, inciuding demofition
work as well as temporary repairs compieted. Please forward any invoices for work that has aiready
been compieted, so we can add them to this scope of work.

We want to let you know the next steps you shouid take to repair or repiace you damaged property
and how you can be reimbursed for the for repiacernent vafue covered by your poficy.

About your payment:
The payment is for the "actual cash vafue" of property covered by your poficy less your deductibie. The
actual cash vafue is the amount of the actual property items are worth now less depreciation. You may
be efigibie for additional payment because you poficy inciudes "repiacement cost" coverage.

Included with you estimate is a Summary statement for each coverage, which provides additional detail
about your initial payment and any pending payment.

What you need to do:
Please review the estimate we provided to you. It itemizes all the costs for the repairs to and/or
repiacement of you property. If the repairs or repiacement are compieted, you can be reimbursed for
the difference between the replacement cost and the actuat cash vafue amount we aiready paid you if
you do the foifowing.
   • If you or your contractor thinks the repairs cannot be compieted within the amounts shown on the
       Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 16 of 51



                                                            Claim tf 494880-GK
                                                            Page 2 of 2




estimate, please contact us before continuing the repairs so that any difference can be reconciled.
Otherwise, your additional costs may not be reimbursed.
   • Complete the repairs or replace your damaged items and send receipts, invoices or bills for the
repairs or replacement to me by mail PO BOX 182068, COLUMBUS, OH, 43218-2068; email:
coffeml@nationwide.com; or fax: 877-866-1399.
   • Keep a copy of these documents for your records. In the events of a future loss, you will need
these documents to prove that this damage was repaired or replaced. Otherwise, we will consider our
payment as evidence of prior damage and the deduct the amount from the future claim.

What to expect:
We'II review all documentation you send us to determine the reimbursement amount. Our total
payment will not exceed your limit of coverage.


For more information
If you have any questions or.concerns, please contact me at 614-435-2887 or
COFFEMI@nationwide.com.

Sincerely,

Michael Coffey
Harleysville Insurance Company
PO BOX 182068
COLUMBUS, OH 43218-2068
Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 17 of 51
          Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 18 of 51




                       Harieysvilte insurance Gompany
        mom
                       Mike Coffey, A1C A1NS
                       PO 8ox 182068
                       Columbus       21.28
     ~~~•                                    7-866-1399
                       O: 14a13S42887 1 F&8705
                       coffeml@natlonwide.com
                       ,:~--~-----
                t - re~d;' ',;t~tfe~Skills•Ic~~E~                                         Business: (308)943-0700
                a=
                                                                                             E-mail: tarnickNufe-skilisinc.org
                             WEBSYER, MA a1S70-1812
                 Home:       44 MORRIS ST
                             WEBSTER, MA 01570-1812

             Claim Rep.:     Mlke CoHey                                                    Busieess: (614) 435-2887
                Positlon:    Claim Spelalist                                                 E-mail: coffeml®nationwide.eom
m              Business:     PO Box 182068
a                            Colurnbus , OH 43218-2068
a
~
Q              Cike`Co                  .           ~                                      Business: (614)43S-2881
0                      on    ~Gt4inrS~edailss~—                                              E-mail: coffeml@natlonwlde.com
~^
N              Business:     PO Box 182068
OD                           Columbus , 0}143218-2068
o                  _
       `4~t~im~tuml~er; 4~85l~                          Policy Number: MPA00000019116E         Type of Lossr AII Other

          Date Contacled:     S)61202011:15 AM
            Date of Loss:     S1S1202012:00 AM                     Date Recelved:   S►612020 2:00 AM
          Date Inspeaed:      5)12t202010:00 AM                     Date Entered:   Sl712020 7:11AM
     Qate Es<. Completed:     6$►2020 7:52 AM

~              Price Llst     MAEMBX_MAY20
                              Restoratlon)ServlceJRemode)
                Estimate:     LIFE.SKILLS_INC4
    Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 19 of 51




              Harleysville Insurance Company
              Mike Coffey, AIC AINS
              PO Box 182058
              Cotumtnn OH 43218-2068
              o: 614-43S-28871F: 877•866-1399
              cdfanl@natimWde.com

 Dear Va(ued Customer,

 Please refer to the attached itemized estimate. The estimate contalns our valuation of the damages for the
 reported loss and was prepared using usual and customary prices for your geographic area. If you choose
 to hire a contractor or vendor to make repairs. please provide this estimate to them.
 Please note that if your mortgage company is Included on your ciaim payment check, contact the mortgage
 cornpany to discuss how to handle the proceeds of this payment.

 If you, your contractor, or vendor determine that there are additional bufiding fees andJor permits
 associated with the estimated repairs that are not included In this estimate, please contact me Immediately
 so that ! may review and make a determination as to the 'appropriate payment.
 1f you discover any additional damage to your property, please Immediately contact me, either personally
 or through your contractorivendor. We may need to re-Inspect your properry before authorization of
 supplemental payment. Please do not destroy or discard any of the damaged items until we have had an
 opportunity to inspect the damages and have reached an agreement with you on any suppiemental cosL

 Nationwide may also request to re-inspect your property, at your convenience, as part of our commitment
 to quality and customer service.

 Thank you for allowing Harteysville I nsurance Company to serve your insurance needs. Piease contact me
 at the nuinbers listed abm if you have any questions regarding this estimate or any other matler pertaining
 to your daim.




LIFE_SKILLS_INC4                                                                            b{8l2020           Fage:2
              Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 20 of 51




                           Harleysvitte insurance Company

          ~                MlkeCoffey, AIC AINS
                           PO Box 182068
                           Columbus OH 43218-2d68
                           0:614-43S-28871F:877•866-1399
                           coffeml0nationwide.com

                                                                   LIFE_SKILI.S_INCA

                                           TenIporarq.Replln

          DESCRIPTION                              QUANTITY UNIT PRICE                   TAf(        O&P           RCV       DEPREG             ACV
          1.Teioprnary Repdrs (81d Iten)                 1.00 EA                                                                           OPEN ITEM

          Tatals: TemporatyRepaln                   ^                                     0.00 ~      OAa           0.00           0.o0          0.00
U%
s
0
N
~
~                                          Demoiition
o
0                                                                                                                  RCV       DEPREC.            ACV
0         DESCRIP'f10N                              QUAmTITy UNiTPRICE                    TAX        OdrP
M
N         2.G®nera) Demolid6e•                           1.00EA                                       ~-~-                                 OPEN ITEM
co
0
C         Totdx Demo4tion         -~^                                                      oA0         9600         0.0o           OAO           OAO



                                           Generai Comlitions

          D_ESCRIPTION                              QUANTITY UNITPRICE_                   TAX         OdrP          RCV_ DEPREC.                _ACV
                                   _                                               _...__.._0.00
          9. Dump6teiload=Approx.40yards,7-8 '           IAOEA           988.84                     197.76      1,186.60     _ r" (0.00)      1,186.60
 _•• .    tons oideE~I~
          Totals: Gaaeral CondiHons                                                        OAO      197.76      1,1d6.60 ^         oA0        I,U6.60



                                           Rear Elevatlon

          DESCRIPTION                               QUANTITY UNITPRICE                    TAX         ObP           RCV       DEPREC.            ACV
          4. Trackhoetexnvalorandbperatot              12AOFIR            14S.00            0.00        348.60       2,088.00        (0.00)   2,068,00
          !2 hours excuvator faborallawed for(1) technkLin aeoridng (1.5) /ull t-hoar days to renwtre and rpplate toll eear afted fotmdWon eeUwldiout
          cmning furtber damaga to prcperty.
          S. Foandatton wall sawing - d' waD           12A0 LF              72.60           O.dO        174.24       1,045.44        (0.00)   1,04S.44
          6.Remove Slurep stone bW -12' wtdth          48.40 SF             2.31           0.00       22.18       133.06          (0.00)       133.06
          7.Slump stone block-12' wtdtb                48.o0SF             14.31          17.13      10.110       844.81        (145.61)       699.20
          To repfue coJlaps¢d foundallon wa1L
          8 Sealfoundatlonwall                         4800SF               0.62           0.36        6.04         36.16         (3.06)         33.10
          9. Rackflll foondrtlom                       12.00 LF             1.42           0.00       10.60         63.64         (0.00)         63.64
          To baaNlil fatsdatbn aRer repafrs are compkted and so!i has seRled.
          Totala: Rar Elevadan                                                            11.49      701.86      4,21L11         1407         4,062.44

         LIFE-SKILLSJNC4                                                                                                    61812020             Page:3
      Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 21 of 51




   W       ,
                      Harieysiille Insurance Company
                      Mike Coffey, AIC AINS
                      PO Box 182068
 mWwmW                Colambus OH 43218-2068
                     0:614-435-28871F:877-866-1399
                      caffeml@natfonwlde.com
                                                                    Maln Level
           u
                                     Work ArealRoom                                                                              Helght: 8'
           1       ~dma
                   ~                               1469.33 SF Walis                                 1545.83 SF Celling
               r          ,                        301S.17 SF Wdlis & Celling                       1545.83 SF Floor
                                                    171.76 SY Flooring                               I79.83 LF Floor PerlmeDer
                              ,                     202.83 LF Cell. Pedmeter
                              ~
               ~--~r~a--•
  Door                                                 6~ X 6~ 8a                        Opens into Esctqrior
  Missing Wall - Goa to Floor                          4' 6" X 6' 8"                     OPens into ROOM3
  MissMg Wall - Goes to F(oor                          5' X 6' 8"                        Opens into ROOM2
  Door                                                 2' 6" X 6' 8"                     Openi Into ROOM2
  Qoor                                                 2' 6" X 6' 8"                     Opans into ROOM2
  Door                                                 2' 8" X 6' 8"                     Opens into MAINTENCE-OF
  DESCRIPTION                             QUANTiTY UNITPRICE                     TAX        OB,P         RCV        DEPREC.          AC1/
  10.Contam - move out then reset - Extra    1.00 EA    192.00                    0.00      38.40       230.40         (0.00)       230.40
  larpe room
  11.Remove 2' x 6• lumber (I BF per LF)        78823 LF             0.62         0.0D      9474        586.44          (0.00)      586.44
  To rrmoK tubflooft
  12.2' x 6" lumber (I B F per LF)              788.23 LF            2.33        36.46     374.62     2.247.66        (309.88)    1,937.78
  To replaa sub)laoring.
 13.Renavejqtst - tloor or eeillng - 2x12 -     788.23 SF            L2S          0.00    197.06      1.182.3S          (0.00)    1.1823S
 wlbtodchq-16'oc
  To rertm exrstlng aeQ damaqed fJoorJoWs.
 14.Jokt - floor or ceUing - 242 -              788.23 SF            4.95    114.79       803.30      4.819.83        (975.69)    3.844.14
 w)blodstng -12" ac
 To repfate lfoorJoisfs.
 ] i. RemovePreastconcrete-anchor                 2.00EA            1&Ol          0.00       720        4322            (0.00)       43.22
 Nock
 To realoYe rhllied eonoNe artchorbJoct.
 16.Pretut oantrote - endqr block                 2.00EA            89.08         8.74     37.38       224.28         (74.30        149.96
 1'o repface conrate andar blocl.
 17.Remove Cpve base mofding - ruhber or       179.83 LF            0.34          0to      12.22        73.36           (0.00)       73.36
 vinyi, 4- bigh
 28. Cove tuse molAing - rubber or vioyt.      179.83 LF             2.04        12.93     7S.96       455.74          (87.89)      367.85
 4' high
 19.Runm Saanloek LamlmDe -                   1,545.83SF             L18          0.00    364.82     2,188.90           (0.00)    2,188-90
 slmufated wodfloor - Standud grade
 20.Snaplodl lamtnafle • simulxed waod        1,54S.83 SF            4.80    195.16      ],523.04     9,138.18      (1,6S8.87)    7,47931
 tiocr- Stenda(d grade
 Totats: WoricAr<syRoom                                                      368.08      3,53].74    24190.36        3,106.65    1033.71



LIFE.SKILLSJNC4                                                                                                  61812020            Page:4
            Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 22 of 51




         w        o
                              Harleysville insurance Cornpany
                              Mike Coffey, AIC AINS
                              PO Box 182068
      Natlonwida              Colurobus OH 43218-2068
                              O: 614-435-2881i F: 877-866-1399
                              aoffeinl®nationwide.com

                                             Offlce                                                                                            Height: 8'
            a       #r                                     803.44   SF Walls                                      834.73 SF Ceiiing
                  m fi                                    1638.17   SFWallsB Ceiling                              834.73 SFFioor'
                                                            92.75   SY Flooring                                    97.2S LF Floor Perimeter
                                   I                       116.33   LF CeiL Perlmetet


        Door                                                   2' 6" X 6' 8"                         Optils btito ADMIN_OFFICE
N
ut      Missing Waii - Goes to Fioor                           6' 7" X 6' 8"                         Opens Into HALLWAY
0
c%1     Doar                                                   2' 6" X 6' 8"                         Opms Imo WORKJIREA_RO
~
T       boor                                                   2160 X 6' 8"                          Opms into WORK..AREA_RO
o                                                                                                    Opens into WORKJIREA_RO
0       Missing Watl - Goes to Floor                           5' X 6' 8"
0
14      DESCRIPTION                                QUANTITY UNIT PRICE                  TAX              06rP         RCV        DEPREC.           ACV
N
nD                                                                                                                                  (0.00)        230.40
oD      21.Contents -  move out thPn res®t - Extra       1.00 EA         192.00          0.00            38.40       230.40
0       urge rown
        22.Content Manipulatl~on charge - per            4.00 HR           46.92         0.00            37.54       22S.22           (0.00)      22S.22
        hdw
        4 hours additlonalconteru minfpalattoar Iabor afiwved due to ske aed amount of ccrttents fe this area.
        23.Remwve Cove bsse molding - nbber or          97.25 LF            0.34         0.00              6.62       39.69           (0.00)       39.69
        vinyl. 4' idgh
        24.Cove base molding - rubber or vinyl,         97,2S LF            2.04         6.99            41.08       246.46         (47.54)       19&92
        4' bigh
        25.Remove Sna0lock Laminate •                  834.73 SF            1.18         0.00           197.00     1,181.98           (0.00)     1,18L98
        dmulated wwod itoor • Standard qride
~       2f~ SnaplodtLarntnate•slmUlatedwood
        800r - Standard yrade
                                                       834.715F             4,80       10S.38           822.42     4,934.S0        (895.M        4,038.73

        Totalc Otflae                                                                    112.37      1,143.06      6,858.25          943.31      5,914.94



              7~•-       -+                  Hallway                                                                                     Helght:8'
                                                                                                                    _
                         e                                  336.75 SFWalis~ -                              ~y     147.46 SFCeiling
              g          i             j .                  484.21 SF Walis& Celling                              147.46 SF Floor
                                                             16.38 SY Flooring                                     40.58 LF Floor Paimeter
                                                             49.66 LF Ceii. Peritttt;ler
                              _.
                         o-c r
        Missing Wall                                           4140 X 8'                              Opens into STAIRS
        Door                                                   2160 X 6' 8"                           Opens inta Bxterior
        Mlssing Wall • Go9s to Floor                           6' 7" X 6' B"                          OptnsItlto ROOM2

                                                      QUANTiTY UNITPRICE                  TAX ,          ObP                      DEPREG            ACV
        DEgCRIPTION
                            .._~,.~.......                          ._.._~.,......._.                        ...__._:,..RCV
        27. Coriterus - nroVe out then reset              1.00 EA           64.00          0.00          12.60         76.80          (0.00)        76.80
      LIFE_SKILLS.INC4                                                                                                         618j2020             Page: S
      Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 23 of 51




   e        l
                     Harley.syiile 1 nsurance Company
                     --%
                     Mlke Coffey. AIC AINS
                     PO Box 182068
 >~~•                Coiumbus OH 43218-2068
                     0:614-435-28871 F:877-866-1399
                     coffemlC@rtatlonwlde.com



                                                           CON'TINUED - Haihvay


  DESc1tIPT10N                               QUANTiTY UNITPRICE                TAX       OdIP         RCV        DEPREC.         ACV
  28, Remove Cove base molding = iubber or      40.58 LF          0.34          0.00      2.76       16.56          (0:00)       16.56
  vinyl, 4' htgh
  29.Cave base mohling - rubber orvinyl,        40.58 LF          2.04          2.92     17.14       lOI.84        (19.84)       83.40
  4' hlgh
  30.Remove Snaplock Laminate -               147A65F             1.18          0.00     34.80      208.80          (0.00)      208.80
  simulated woad floor-SWndard grade
  31.SnapiodcLaminate-slinuleedwood           147.46SF            4.80         1842     14528       871.71        (1S8.24)     113.47
  flaor - Standard grade "
  Totals: Nallxrny                                                             21.54    212.78     1,t76.7i         178A8     ],098.63



                                  Maintence ONice                                                                            Height 8'
                                                   366.00 SF Walls                                140.88 SF Celling
                                                   506.88 SF Walls & Ceiling                      140.88 SF Floor
                                                    15.65 SY FloorinB                              45.33 LF F1oa Perimeter
                                                    47.83 LF Cell. Perimeter


  Door                                                2' 6° X 6' 8"                    Opens into W ORK.AREA-tO
  DESCRIPTION.                            QUAN7iTY UNITPRICE                   TAX       0&P          RCV       DEPREG           ACV
  32.Contenls -move oul then reset - Exva    1.00 EA    192.00                  0.00     38.40      23040           (0.00)     230.40
  brge room
  33.Remove Cove bise inalding - mbher or       45.33 LF          0.34          0.00      3A$        18.49          (O.QO)      18.49
 vtnyt, 4' Wh
 34.Covebasemolding•n►bbcrorvinyl,              45.33LF           2.04          3.26     19.16•     114.89         (22.15)      92.74
 4•lfth
 35.Remove Stuplock l.andnate -               140.88 SF           1.18          0.00     33.24      199A8           (0.00)     199.48
 simultted wood Hoor-Startdard grade
 36.Sn~pEodtLamtnate-simutasedwood            140.88SF            4.80         17.79   138,80       832,81        (1S1.19)     681.62
 tloor -Staadaid grade
 Totats: MaintenceOtNce                                                        2L05     232.68    1,396A7          173.34     1.222.73




LIFE.SKILLS..INC4                                                                                             61812020           Page:6
         Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 24 of 51




                        Harleysville Insurance Company
       RAN
                        AAlke Caif'ey, AIC AINS
                        PO 8ox 182068
     Nmtlm I MAp        Columbus OH 4321B•2068
                        O: 614-435-28871F: 817•866-1399
                        coffeml@natlomWde.cam

                                         Adndn Offlce                                                                               Heiqht 8'
                                                          340.26   SF Wails                             131.27 SF Celling
                                                          471.54   SF Watls& Celling                    13L27 SF Fioor
                                                           14.59   SY Flooring                           43.S0 LF Floot Perimeter
                                                           46.00   LF Cell. Puimeter
               t
                   :5       1
      DoOr                                                   2' 6" X 6' 8"                    Opens Into ROOM2
0.
Io                                                                                 TAX          OdiP        RCV       DEPREG            ACV
O     DESCRIPTIION                                  QUANTITY UNITPRICE
N
r-    37. Canterts = mo+re out thenr`eiet - Lar®e       1.00 EA         96.01          O.OD     1920       115.21          (0.00)      115.81
~     room
Q                                                                                      0.00      2.96       17.1S          (0.00)       17.75
O     3& Remove Cave bue molding - rubber or           43.50 LF          0.34
O     vinyl.4'hlgh
M                                                                                               18.36      110.23        (21.26)        88.97
N     39.Covs base motdtng - rubber or wm+l,           43.50LF           2.04          3.13
co    4- high
co                                                                       1.18          0.00     30.98      185.88          (0.00)      185.88
a     40.Reniov® Snaplock Laminate •                  231.270
      slmulated wood floor-Standud grade
      41.Snaplodt Laminate • slmniaoed wood           131.27 SF          4.80      16.57       129.34      776.01        (140.86)      635.15
      tioor - Standud grade
      Totais: Admtn Office                                                         1A70        20Q84      1,205.08        16Li2




                                         Work ArealRaom 2                                                                           HeighR 8'
~                                                        1738.00 SF Waps                                2861.08 SF Ceiling
                                . ~                      4605.08 SF Walll& Ceiiing                      2867.08 SF FloOr
                                                          318.56 SY Fiooring                             216.S0 LF Floar Paimeter
                °                r                        221.00 LF Cell.Perlmeta


      Mlssing Wali - Goas to Fhoor                           4' 6" X 6' 8"                    Opens inb W ORKJIREA..RO

      DESCRIPTION                           QUANTtTY UNITPRICE                         TAX      OmP         RCV        OEPREC           ACV
      42.Cments - move out then reuc- Extra    lA0 EA     192.00                       0.00     38M0       230.4D         (0.00)       230.40
      large room
      43.Cantent Manlpulatbn chuge -per                12.00 HR         46.92          0.00    11L60       67S.64          (0.00)      675.64
      hour
      l211aon addlt(onai oenteot mantpu4Non IaQor aflawed dne to sbe andamonat olcontarRs !n tbb area
      44.Remave Cow base moMing - rubber or           216.50 LF          0.34          0.00     14.72        88.33         (0.00)       88.33
      vtnyi, 4• hlgh
      45.C4vebasemoiding •rubberorvinyl,              216.i0LF           2.04      1S.S6        91.46       548.68       (105.81)      442.87
      4' high
      46.Remove Snaplock Laminate -                  2.867.08 SF         1.18          0.00    676.64     4,059.79         (0.00)     4,059.79
      simulued wood noor - Swndard gnde

     LIFE-SKILLS_INC4                                                                                                6j8J2020            Page:7
     Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 25 of 51




                 Harleysville Insurance Cornpany
                 Mike Coffey, AIC AINS
                  AO Box 18I068
14               Columbls Ofi 43218-2068
                 O: 614-43S-2887 1 F: 877-866-1399
                  coffeml®nationwide,com



                                                OONTiNUED • Work ArealRoom 2



 DESCRIPTION                              QUANTITY UKITPRICE              TAX        O&P           RCV           DEPREC.         ACV
 47. Seaplock Laminaze - shnulated waod   2,867.085F         4.80        361.97   2,824,80     16,948.75         (3,076.73) ~ 13,872.02
 Hoa-5tandard grade
 Totats: WorkAreafRoom2                                          ~       377.53   3,738.62     22,551.59          3,18L54    19,369.03
                                                                                                            _r


 Totak Matn Lgel                                                         920.27   9,oTA72      54,476.06          7.746.04    46 732.02
 LlnaltamTotats: LIFE,:SKILLSJNC4                                        937.76   9,979.34 ~S9,875.77             7,894.71    51,981.06


 Grand Total Arm
      5,218.SS SF Walls                         5,699.98 SF Ceiliny                  10,918.53 SF Walis and Ceiling
      5,727.23 SF Floor                           636.36 SY Ftoodng                     640.88 LF Floar Perlmeter
          0.00 SF Long Watl                         0.00 SF Stwrt Wall                  698.77 LF Ceil. Perimeter

      5,727.23 Flopr Area                       5,873.47 Total Area                   4,967.13 Intertor Wall Area
      2,SS6.2S Exterior Wall Area                 326.61 Exteria Perimeter of
                                                         Wails

          0.00 SurfaceArea                         0.00 Num6er of Squares                    0.00 Total Perlmeter Length
          0.00 Total Ridge Lertgth                 0.00 To1al Hlp Length




LIFE_SKILLSJNC4                                                                                            61812020               Page:B
           Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 26 of 51




                      Harleysville Insurance Company
           od,        Mike CoRey, AIC AINS
                      PO Box 182068
      IN              Columbus OH 43218•2068
                      0: 614-435-28871F:, 877-866•1399
                      coffeml®nationwlde,com



                                                     Summary for Loc 001 Bldg 001
       Line ItemTotal                                                                          48,9S8.67
       Matedat Sales Tax                                                                          937:76

       Subtotal                                                                                49,896.43
       Ovefiead                                                                                 4,989-67
%o     Profit                                                                                   4,989.67
Pk-
O
N      Reptacement Cost Value
~
~      Less Depredatlon
0
0      Actuai Cas6 Value
0
M      Less Oeductible
N
~
aD     Net Ctaim
0
       Total Recoverable Depreciation                                                            7,894.71
       Net Claim ifDeprectation is Recovered                                                   557,375.77




                                               Mike Coi
~                                              Claim Speclalist




      LIFE_SKILLS_INC4                                                              6►812020        Vage:9
Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 27 of 51
                                                                                                                                                                                               i




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             Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 28 of 51




                                                                                                                           .~




                               Datach Stub, Betore Cashing And                               rd
                                             +• •    • • •
                                                                                             ~
Nationwide Insurance                                                                                             56-1844
                                                                                                                   ~.
PO BOX,182186
COLUMBUS, OH 43218-21
1•800-421-3538


PAY           ~!
OIAC'r~        '-..~.   ;.:Fawa ?s -~_:r_   s:. ^"t'L•::a,,,...~.._,.,c   _-

         \                         .~ •                                   ~




      JPMorW CW+B+* NA.
   Caiumbnr. OM                                                                              AuiDot~iW Slg~ur~



             0i52494520 r:044LL5443i:                                          976485235u'
Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 29 of 51
        Case 4:22-cv-40064-AK Document 1-1 Filed 06/15/22 Page 30 of 51


                                                               Life Skills Inc
                                                               Page 1 of 3

t)      Nationwide
                                                               Date prepared
                                                               Clalm number
                                                                                 July 9, 2020
                                                                                 494880-GK
                                                               Policy number     MPA00000019116E
                                                               Questions?        Contact Claims Associate
                                                                                 Giuseppe Corallo
                                                                                 coraigl@nationwide.com
                                                                                 Phone 860-716-1391


Life Skills Inc
44 MORRIS ST
WEBSTER, MA 01570-1812




Claim detaiis
Insurer:                Harleysville Insurance Company
Policyholder:           Life Skills Inc
Claim number:           494880-GK
Loss date:              May 5, 2020

Dear Life Skills Inc,

We completed our review of this collapse loss reported to have occurred on May 5, 2020. We made
every effort to provide a fair and thorough evaluation of your poficy of insurance and investigation of
your loss.

Based on our investigation and review of your policy contract, Harleysville Insurance Company's opinion
is this loss was caused by long term deterioration of the timber beams in the crawl space due to
moisture. We must respectfully advise you that your policy number MPA00000019116E does not
provide coverage for this loss.

About our decision
Our investigation indicates that the soil in the crawispace was not covered with a vapor retarder,
therefore it permitted elevated moisture and humidity levels. This caused the timber beams that
comprised the fioor structure to decay. It is evident that this decay occurred over a long period of time,
spanning decades. This long term decay caused a vertical displacement in the fioor. The vertical
displacement of the floor is not consistent with the definition of a collapse, and was not a result of an
overioaded condition. These findings were concluded by EFI Global, which is an independent
engineering firm in your area. Unfortunately, your Commercial Lines Common Policy does not cover for
this type of loss.

Policy detaiis
Your Commercial Package policy states the following:
A. Coverage
   We will pay for direct physical loss of or damage to Covered Property at the premises described in
   the Declarations caused by or resulting from any Covered Cause of Loss.


3. Covered Causes Of Loss
See applicabie Causes Of Loss Form as shown in the Declarations.
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                                                                 Life Skills Inc
                                                                 Claim tt 494880-GK
                                                                 Page 2 of 3




B. Exclusions And Limitations
See applicable Causes Of Loss Form as shown in the Declarations.


CAUSES OF LOSS - SPECIAL FORM


A. Covered Causes Of Loss
   When Special is shown in the Declarations, Covered Causes of Loss means Risks Of Direct Physical
   Loss unless the loss is:
      1.Excluded in Section B., Exclusions; or
      2. Limited in Section C., Limitations; that follow.


B. Exclusions
  1. We will not pay for loss or damage caused directly or indirectly by any of the following. Such loss
   or damage is excluded regardless of any other cause or event that contributes concurrently or in
   any sequence to the loss.


      h. "Fungus", Wet Rot, Dry Rot And Bacteria
      Presence, growth, proliferation, spread or any activity of "fungus", wet or dry rot or bacteria.


2. We will not pay for loss or damage caused by or resulting from any of the following:
      d. (1) Wear and tear;
         (2) Rust or other corrosion, decay, deterioration, hidden or latent defect or any quafity in
         property that causes it to damage or destroy itself;
         (4) Settling, cracking, shrinking or expansion;


      f. Continuous or repeated seepage or leakage of water, or the presence or condensation of
      humidity, moisture or vapor, that occurs over a period of 14 days or more.


      k. Collapse, including any of the following conditions of property or any part of the property:
         (1) An abrupt falling down or caving in;
         (2) Loss of structural integrity, including separation of parts of the property or property in
         danger of falling down or caving in; or
         (3) Any cracking, bulging, sagging, bending, leaning, settling, shrinkage or expansion as such
         condition relates to (1) or (2) above.


D. Additional Coverage - Collapse


The coverage provided under this Additional Coverage ? Collapse applies only to an abrupt
collapse as described and limited in D.I. through D.7.


3. This Additional Coverage ? Collapse does not apply to:
   a. A building or any part of a building that is in danger of falling down or caving in;
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                                                                 Life Skills Inc
                                                                 Claim # 494880-GK
                                                                 Page 3 of 3




   b. A part of a building that is standing, even if it has separated from another part of the building; or
   c. A building that is standing or any part of a building that is standing, even if it shows evidence of
   cracking, buiging, sagging, bending, leaning, settling, shrinkage or expansion.

Additional information
We expressly reserve all other rights, defenses, or contentions, which are available to us under the
policy of insurance, by law or otherwise, and do not waive any such rights or defenses which we now
have or which may become known to us in the future.

If you have information about this claim that may affect our current decision, please forward it to us as
soon as possible.

For more information
If you have any questions or concerns, please contact me at 860-716-1391 or coralgl@nationwide.com.

Sincerely,

Giuseppe Corallo
Harleysville Insurance Company
PO BOX 182068
COLUMBUS, OH 43218-2068

cc
O&#39;CONNOR & CO INS AGENCY
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Nashua, New Hampshire 03060                                                                                                {/



Tel: 603.732.9119


                                            Forensic Engineering Report
                                                     Floor Structure Evaluation

                                                         EFI Global File No.: 014.01116
                                                                 June 26, 2020


                                                    Insured: Life Skills, Inc.
                                                       44 Morris Street
                                                 Webster, Massachusetts 01570

                                                      Date of Loss: May 5, 2020
                                                       Claim No.: 494880-GK

                                                                        Prepared For:
                                                         Giuseppe Corallo
                                                      Nationwide Insurance
                                                         P.O. Box 182068
                                                      Columbus, Ohio 43218
                                                    Coralgl@@nationwide.com


 Report Authored By:                                                                Technical Review By:




                                                                                       ~U- ~~- g
 Michael L. Brown, P.E.                                                             John P. Gilewicz, P.E.
 Senior Forensic Structural Engineer                                                Senior Forensic Engineer
 PE Expires: 06/30/2020




1 hereby certify that this engineering document was prepared by me and that I am a duly licensed Professionaf Engineer in the state referenced in the signature
line above. Printed copies of this document are not considered signed and sealed and the slgnature must be verified on any electronic copy. Hard copies of this
report with a"wet-seal" can be provided upon request. This report Is furnished as privileged and confidential to addressee. Release to any other party is the
sole responsibility of addressee. 02019 EFI Global, Inc.
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Insured: Life Skills, Inc.
EFI Global File No.: 014.01116



ASSIGNMENT

The assignment .was received by EFI Global, Inc. (EFI) on June 8, 2020, from Michael Coffey with Nationwide
Insurance. The file was subsequently reassigned to Giuseppe Corallo with Nationwide Insurance.

The scope of this assignment was to:

            Determine the cause of the reported vertical displacement of the fioor structure at the northwest
            corner of the ceramics room and to determine if the reported damage was considered a collapse.

In response to this request, Michael L. Brown, P.E., (EFI) visited the site on June 10, 2020. Joseph Daniels,
Maintenance Supervisor with Life Skills, Inc., and David Cole with Cole Contracting, buiiding owner's contractor,
were present during the site visit, provided access to the property, and background information.

EFI Global, Inc. (EFI) has compieted an inspection at the subject property iocated at the above referenced address.
EFI's findings, analysis, and conciusions are inciuded herein. This report contains a discussion ofthe information
gathered during the assessment and an anaiysis and conclusions with respect to the condition of the subject
property at the t'ime of EFI's assessment. The conciusions contained herein are based on information available
to date.                I




METHODOLOGY

The collection and anaiysis of Information forthis project followed an application of engineering principles to the
investigation anaiysis.

The procedures followed inciuded:

    1.      Following receipt of the assignment, a site examination was conducted on June 10, 2020 in the
            presence of Mr. Daniels and Mr. Cole.
    2.      Mr. Daniels and Mr. Cole were interviewed during the site inspection to determine the background,
            timeframe, and extent of reported damage sustained by the floor structure.
    3.      Mr. Tom Amick, CEO of Life Skills, lnc. was also interviewed via telephone to determine additional
            background information.
    4.      The following was researched:
            a. 2015 International Building Code, International Code Council
            b. Merriam-Webster Dictionary, URL: https://www.merriam-webster.com/dictionary/collapse
            c. The Webster, Massachusetts, Online Property Database, URL:
                https://www.webster-ma.gov/620/Zoning-Map-Property-Record-Cards-GIS
    S.      This written report was authored at Giuseppe Coratlo's request.




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Insured: Life Skills, Inc.
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BACKGROUND AND BUILDING SYSTEM DESCRIPTION

The building was a two-story, timber and steel framed structure, of which a portion of the structure was
constructed on brick masonry foundation walls within which a crawispace was enciosed, and the remainder of
the building featured a slab-on-ground concrete fioor. The roof was a low-slope type roof and the exterior walls
were ciad with a combination of brick veneer, vinyl siding, and shingles. The floor structure in the subject portion
of the buiiding (the ceramics room) comprised 3-inch-thick wooden subfioor pianks supported atop timber fioor
beams that were founded on concrete piers. For the pu rposes of this report, the building was considered to face
south on Morris Street (Appendix A— Photographs).

Research performed in relation to this investigation through the Webster, Massachusetts Assessor's office
revealed that the building was constructed in 1850.


PROVIDED INFORMATION

The following information was gathered during the site visit and through interviews of Mr. Amick, Mr. Daniels,
and Mr. Cole:

    •       Mr. Daniels has worked at the subject buiiding since about 2016.
    •       The prior maintenance supervisor was Robert Scoczenski and he worked at the building from about
            2000 through 2015.
    •       The timeframe of performing repairs in the crawispace in the form of sistering the timber beams and
            propping the ledger beam along the west foundation wall with concrete masonry (CMU) to augment
            decayed timber beams was unknown.
    •       Mr. Amick indicated that prior maintenance staff could have perFormed these repairs, but he was
            not aware of the timeframe, extent, or purpose of the repairs.
    •       Mr. Amick did not have contact information for Robert Scoczenski at the tirne of providing this
            information.
    •       It was aiso unknown when concrete infill was placed adjacent to the west foundation wall and an
            automatic slider in the west exterior wall. This infill was consistent with a prior repair to strengthen
            and level the floor.
    •       The automatic slider was installed sometime between 2013 and 2015 but Mr. Amick thought the
            concrete infill likely predated the installation of the automatic slider.
    •       Mr. Amick indicated that animais use to live in the crawlspace due to a hole that was in the north
            foundation wall at the northwest corner of the crawispace.
    •       Mr. Amick beiieved that mortar patches at the northwest corner of the foundation were to enciose
            the hoie through which animals were entering the crawlspace, and the work was done approximateiy
            12 years ago at the suggestion of Braman Pest Control or Braman Chemical to mitigate animals living
            in the crawlspace.
    •       Spray foam insulation placed at gaps between the floor and foundation walls were installed prior to
            Mr. Daniels tenure.
    •       The subject room was utilized as a ceramics classroom since about 2010.




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    •       On or about May 5, 2020, Mr. Daniels discovered that the floor in the ceramics room overlying the
            crawlspace was displaced downward approximately 8 to 10 inches between the northwest corner of
            the foundation and the first beam to the east.
    •       Mr. Daniels was unaware of prior issues with the floor and noticed the vertical displacement due to
            a visible tilt of two portable kilns on the floor.
    •       At first, Life Skills was not intending to open an insurance claim. However, subsequent to hiring
            Johnson Exteriors to demolish the subfloor, widespread instances of decayed subfloor, decayed
            timber beams, a rotated concrete pier and supported steel column, and historical relocation of
            columns that were bearing on deflected (sagging) timber beams, it was decided to bring in a more
            experienced contractor.
    •       Life Skills hired Cole Contracting who retained an engineer, Rob Johnson, to design temporary
            shoring forthe second floor. This temporary shoring was in place during EFI's inspection.
    •       Mr. Cole indicated that although the vertical displacement was isolated to the northwest corner of
            the ceramics room, widespread replacement of the floor structure is required to the long-term
            deterioration, decay, and demolition of the subfloor that contributed to lateral displacement of a
            concrete pier and steel column.
    •       Mr. Cole indicated the current scope of repairs to the floor structure total approximately $264,000
            but that number will likely increase due to additional decayed tirnber beams located outside of the
            ceramics room.
    •       Mr. Cofe, Mr. Amick, and Mr. Daniels referred to the vertical displacement discovered at the
            northwest corner of the ceramics floor as a collapse.
    •       Mr. Daniels indicated that no pictures were taken of the floor before demolition was initiated or
            during the initial phases of demolition.
    •       EFI contacted Matthew Johnson ofJohnson Exteriors to request any photographs that they took prior
            to or soon after demolition began. Johnson Exteriors has not provided pictures as of the date of this
            report.


SITE OBSERVATIONS

Observations were photographed to document distress and relevant conditions at the subject property on the
date of the site visit. Pertinent photographs captured to document findings and observations are attached to
this report. During this investigation, the following observations were made:

EXTERIOR SITE OBSERVATIONS:



            Bricks in the north foundation wall at the northwest corner of the building were displaced and
            mortared into place with historically installed repair mortar.


INTERIOR SITE OBSERVATIONS:


            The subfloor was removed throughout the ceramic room.
            The north ends of the timber beams were severely decayed.




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    •       The timber beams were sistered with wood beams that were notched to mitigate historical vertical
            dispiacement resuiting from the decayed timber beams.
    •       Stacked CMU was observed under the westernmost beam adjacent to the west foundation wall.
    •       Bricks at the interior face off the north foundation wall were detached from the foundation wall and
            laying on the ground.
    •       The mortar at the northwest corner of the foundation was powdery.
    •       The westernmost ledger beam was detached from the wall and laying on the ground.



DISCUSSION AND ANALYSIS

In accordance with the request, the building was inspected to determine the cause of the reported displacement
of the floor in the northwest corner of the ceramics room. As mentioned previously, the timber beams that
comprised the floor structure were severeiy decayed.

Studies have been conducted to correiate the exposure period of various wood products to moisture with the
degree of discoloring and volume expansion. One of the most comprehensive studies was by Ralph E. Moon,
Ph.D., CHMM, CIAQP, in which various wood products were exposed to 13 wet-dry cycles over 40 weeks. The
study by Moon concluded that "soiid wood discolors slowly and requires continuous moisture exposure to
develop a dark (two-to-five months) to biack (six-to-eight months) appearance. Repeated wet-dry cycles did not
discolor materials to black in the observed study period (40 weeks):" The USDA Forest Products Laboratory,
states that "Soft rot" wood decay, however, requires a minimum of one year and typically requires 3 to 7 years
depending upon the wood species (Goldberg, "The Value of Wood Decay Analysis in Water Losses").

Based upon the degree to which the wood was decayed and upon EF1's experience, the decay process in the
crawlspace occurred over a period of decades, due to exposure to elevated levels of moisture in the crawispace.
The soil in the crawispace was not covered with a vapor retarder, nor was sufficient openings provided in the
foundation walls forventilation. These factors would permit elevated moisture levels/humidity in the crawispace.
EFI did not observe evidence of localized pipe leaks or other sources of moisture within the crawispace.

As wood decays, it loses strength due to the loss of cross-sectional area. The wood beams that supported the
subfioor and the subfloor itself, were decayed to the extent that they would not be expected to support normal
expected loading. The ceramic room housed storage shelves and kiln equipment. The kiins were reportedly in
the area of the floor's vertical dispiacement that was discovered on or about May 5, 2020. However, the kiins
were portable and not a load that would overload a properly constructed floor in good condition. For these
reasons, EFI concluded that the vertical displacement of the floor was caused by the long-term deterioration of
the timber beams and not from an overioaded condition.

As of the date of this report, photographs of the damage as it existed on or about May 5, 2020 have not been
provided for review but Life Skills and their contractor have referred to the observed vertical displacement of
approximateiy 8 to 10 inches as a collapse. Generally, within the engineering profession, collapses or partial
collapses, are when a structure or portions of a structure fall from their intended position onto the ground or
fioor below. The 2015 International Building Code, in the definition of Dangerous in Section 202, detachment or
disiodgment of a member is distinguished from a collapse. Further, Merriam-Webster defines collapse as "to fall
or shrink together abruptly and compietely: fall into a jumbled or flattened mass through the force of external




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pressure." The reported vertical displacement of the floor is not consistent with the definition of collapse, and
therefore, it is EFI's professional opinion that the detachment and dislodgement of the timber beam that resulted
in the vertical displacement of the floor was not a collapse.



Refer to Appendix A— Photographs for photographs pertinent to this discussion.




CONCLUSIONS


The analysis of available evidence related to this assignment supports the following opinions:


    1. The reported vertical displacement ofthe floor atthe northwest corner of the ceramic's room was caused
       by long-term, on the order of decades, deterioration, in the form of decay of the floor structure's timber
       beams.


    2. The decay was caused by exposure to elevated levels of moisture in the crawispace due to an absence of
       a vapor retarder and inadequate ventilation.


    3. The vertical displacement of the fioor was not a collapse.


APPENDICES


Representative photographs are included with this report. Additional photographs captured at the time of the
inspection are available upon request.


    •   Appendix A — Photographs



LIMITATIONS


The information presented in this report addresses the limited objectives related to the evaluation of this
assignment. The opinions presented in this report have been made to a reasonable degree of scientific and
engineering certainty based upon the information avaiiable at the time this report was authored. This report only
describes the conditions present at the time of EFI's examination and is only based upon the observations made.
This analysis was limited to the scope of work outlined in this report. This report is not intended to fully delineate
or document every defect or deficiency throughout the subject property.

The opinions contained within this report are limited to the circumstances associated with this assignment, and
are based on this author's education, experience, and training. Should additional information which relates to
this evaluation become known, EFI reserves the right to alter the opinions contained in this report as necessary.
In some cases, additional studies may be warranted to fully evaluate conditions noted.




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Insured: Life Skills, Inc.
EFI Global File No.: 014.01116


This report is furnished as privileged and confidential to the addressee. Release to any other company, concern,
or individual is solely the responsibility of the addressee. Any verbal statements made before, during, or after
the course of the assignment were made as a courtesy only and are not considered a part of this report. This
report is furnished as privileged and confidential to the addressee. Release to any other company, concern, or
individual is solely the responsibility of the addressee. Any reuse of this report or the findings, conclusions, or
recommendations presented herein without the express written consent of EFI is prohibited.


CLOSING

EFI appreciates this opportunity to provide consulting services related to this matter. Please contact us should
any questions arise concerning this report, or if we may be of further assistance.


ENGINEER STAMP

This report has been transmitted electronically. If requested, a hard copy of the report with a"wet-stamp" can
be provided. The signature and stamp image on the front is for demonstrative purposes. This report has been
electronically signed and sealed by this author on the referenced date. Printed copies of this document are not
considered signed and sealed and the signature must be verified on any electronic copy.

It is a violation of law for any person to alter this document in any way, unless acting under the direction of a
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such alteration, and a specific description of the alteration.




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 Photo No. 1:      View of the west elevation of the building. The subject portion (ceramic's room) of the
 building is indicated.




 Photo No. 2:             View of the noi'th elevation of the building.


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Insured: Life Skills, Inc.                                                         Claim No.: 494880-GK
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 Photo No. 3:     View of the north foundation wall at the northwest corner of the building. Note that the
                  are mortared into their displaced, positions. T




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 Photo No. 4: - View of the ceramics room. Note the subfloor was demolished and temporary shoring
 installed. 7he northwest corner of the foundation is indicated with the red arrow.

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Insured: Liife Skills, Inc.                      Claim No.: 494880-GK
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 Photo No. 5:    Closer view of the northwest corner of the foundation. Note the stacked CMU, powdery
 mortar,




 Photo No. 6:    View of decayed ledger beam adjacent to the west foundation wall.


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Insured: Life Skills, Inc.              Claim No.: 494880-GK
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 Photo No, 7:            View of decayed wood plank subfloor on the west ledger beam.
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 Photo No. 8:               View of the end of a decayed wood beam.



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Insured: Life Skills, Inc.                                                              Claim No.: 494880-GK                                                                                                                                  ~
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 Photo No. 9:             View of typical sister beams.




 Photo No. 10' View of laterally displaced column.


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Insured: Life Skills, Inc.                                              Claim No.: 494880-GK
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     Photo No. 11: View of concrete infill adjacent to the west foundation wall.




     Photo No.12: View of more decayed north end of wood beams.



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-   Insured: Life Skills, Inc.              Claim No.: 494880-GK
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                                                                                                NATIONWIDE INSURANCE COMPANY OF
                                                                                                AMERICA
                                                                                                c/o Corporation Service Company
                                                                                                84 State Street
                                                                                                Boston, MA 02109




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         Exhibit 2
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JS 44 (Rev. 08/18)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
Life Skills                                                                                                 Harleysville Insurance Company, improperly pled as Nationwide
                                                                                                            Insurance Company
    (b) County of Residence of First Listed Plaintiff             Worcester                                   County of Residence of First Listed Defendant Franklin County OH
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Boston Law Collaborative LLC                                                                                Gfeller Laurie LLP
80 William Street, Suite 200                                                                                977 Farmington Avenue, Suite 200, West Hartford, CT 06107
Wellesley, MA 02481                                                                                         (860) 760-8400

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 485 Telephone Consumer
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)                 Protection Act
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))         ’ 490 Cable/Sat TV
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 850 Securities/Commodities/
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))                     Exchange
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 890 Other Statutory Actions
                                             Medical Malpractice                                            Leave Act                                                     ’ 891 Agricultural Acts
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS              ’ 893 Environmental Matters
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 895 Freedom of Information
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)                   Act
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party            ’ 896 Arbitration
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609               ’ 899 Administrative Procedure
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                             Act/Review or Appeal of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          Agency Decision
                                             Employment                 Other:                       ’ 462 Naturalization Application                                     ’ 950 Constitutionality of
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration                                                    State Statutes
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           28 U.S.C. Section 141
VI. CAUSE OF ACTION Brief description of cause:
                                           Breach of Contract, Declaratory Judgment, Violations of M.G.L. ch. 178d, ch. 93A
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
06/15/2022                                                              /s/ Robert D. Laurie
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
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         Exhibit 3
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                                                  UNITED STATES DISTRICT COURT
                                                   DISTRICT OF MASSACHUSETTS


1. Title of case (name of first party on each side only) Life Skills v. Harleysville Insurance Company, improperly pled as Nationwide
    Insurance Company


2. Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local
    rule 40.1(a)(1)).

              I.        160, 400, 410, 441, 535, 830*, 835*, 850, 891, 893, R.23, REGARDLESS OF NATURE OF SUIT.

    ✔         II.       110, 130, 190, 196, 370, 375, 376, 440, 442, 443, 445, 446, 448, 470, 751, 820*, 840*, 895, 896, 899.

                        120, 140, 150, 151, 152, 153, 195, 210, 220, 230, 240, 245, 290, 310, 315, 320, 330, 340, 345, 350, 355, 360, 362,
              III.      365, 367, 368, 371, 380, 385, 422, 423, 430, 450, 460, 462, 463, 465, 480, 485, 490, 510, 530, 540, 550, 555, 560,
                        625, 690, 710, 720, 740, 790, 791, 861-865, 870, 871, 890, 950.


                        *Also complete AO 120 or AO 121. for patent, trademark or copyright cases.


3. Title and number, if any, of related cases. (See local rule 40.1(g)). If more than one prior related case has been filed in this
   district please indicate the title and number of the first filed case in this court.



4. Has a prior action between the same parties and based on the same claim ever been filed in this court?

                                                                                    YES    9            NO     9✔
5. Does the complaint in this case question the constitutionality of an act of congress affecting the public interest?          (See 28 USC
   §2403)

                                                                                    YES      9          NO      ✔
                                                                                                                9
    If so, is the U.S.A. or an officer, agent or employee of the U.S. a party?

                                                                                    YES      9          NO      9
6. Is this case required to be heard and determined by a district court of three judges pursuant to title 28 USC §2284?

                                                                                    YES     9           NO      9
                                                                                                                ✔
7. Do all of the parties in this action, excluding governmental agencies of the United States and the Commonwealth of
   Massachusetts (“governmental agencies”), residing in Massachusetts reside in the same division? - (See Local Rule 40.1(d)).

                                                                                    YES     ✔
                                                                                            9           NO      9
              A.        If yes, in which division do all of the non-governmental parties reside?

                        Eastern Division     9                  Central Division   ✔
                                                                                   9                    Western Division        9
              B.        If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,
                        residing in Massachusetts reside?


                        Eastern Division     9                  Central Division    9                   Western Division        9
8. If filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (If yes,
   submit a separate sheet identifying the motions)

                                                                                    YES     9           NO      9✔
(PLEASE TYPE OR PRINT)
ATTORNEY'S NAME Robert D. Laurie (BBO # 648456)
ADDRESS Gfeller Laurie LLP, 977 Farmington Ave., Suite 200, West Hartford, CT 06107
TELEPHONE NO. (860) 760-8400
                                                                                                                (CategoryForm1-2019.wpd )
